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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


 IN RE BROILER CHICKEN ANTITRUST                    No. 16 C 8637
 LITIGATION
                                                    Judge Thomas M. Durkin


                                         ORDER

      Winn-Dixie’s motion for entry of judgment under Federal Rule of Civil

Procedure 54(b), [3389], is denied.

                                      STATEMENT

      The Court granted defendant Fieldale Farms’s motion to enforce a class

settlement against plaintiffs Winn-Dixie Stores, Inc. and Bi-Lo Holdings LLC

(together “Winn-Dixie”). See R. 3312. Winn-Dixie now moves for entry of final

judgment pursuant to Rule 54(b) so it can appeal the Court’s ruling. See R. 3389.

      Under Rule 54(b), a “court may direct entry of a final judgment as to one or

more, but fewer than all, claims or parties only if the court expressly determines that

there is no just reason for delay.” “A proper Rule 54(b) order requires the district court

to make two determinations: (1) that the order in question was truly a ‘final

judgment,’ and (2) that there is no just reason to delay the appeal of the claim that

was ‘finally’ decided.” Gen. Ins. Co. of Am. v. Clark Mall Corp., 644 F.3d 375, 379 (7th

Cir. 2011). Fieldale concedes that the order dismissing Winn-Dixie’s claims against

Fieldale was a “final judgment” for purposes of Rule 54(b). See R. 3479 at 3. So the

issue here is whether there is “just reason for delay.”
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      According to the Supreme Court, “[i]t is left to the sound judicial discretion of

the district court to determine the appropriate time when each final decision in the

multiple claims action is ready for appeal.” Curtiss-Wright Corp. v. Gen. Elec. Co.,

446 U.S. 1, 8 (1980). “This discretion is to be exercised in the interest of sound judicial

administration.” Id. “Thus, in deciding whether there are not just reasons to delay

the appeal of individual final judgments . . . a district court must take into account

judicial administrative interests as well as the equities involved.” Id. The Seventh

Circuit has added that “[e]ven when claims are separate, an appeal ought not follow

as of course.” Horn v. Transcon Lines, 898 F.2d 589, 592 (7th Cir. 1990). “A significant

possibly that the claim will go away [by becoming moot] . . . makes improvident the

parties’ and the judges’ investment of resources to produce a speedy appellate ruling.”

Id.

      Winn-Dixie’s argument that it should be permitted to appeal now is premised

on the conjecture that Fieldale will lose on summary judgment, lose on trial, and lose

on appeal, and then that Winn-Dixie will win on appeal. Winn-Dixie contends that in

that circumstance, it will require a separate trial against Fieldale. Winn-Dixie argues

that it should be permitted to appeal now, so if it is successful, it can rejoin discovery

and any trial along with the other plaintiffs who have opted out of the class.

      The Court finds this to be a highly unlikely scenario. Discovery in this case has

been highly coordinated under the leadership of liaison counsel for the putative

classes and counsel for groups of direct-action plaintiffs. Document discovery has

been entirely joint, and it is rare that other counsel for particular plaintiffs have



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reason to ask additional questions at depositions. Contrary to the hypothetical

scenario conjured by Winn-Dixie on this motion, it is much more likely that if Winn-

Dixie is eventually able to resurrect its claims on appeal, which could only happen if

Fieldale had lost on the merits in this Court and on appeal, that Fieldale would seek

to settle its claims against Winn-Dixie. It is nearly impossible to imagine that

Fieldale would insist on defending itself on the merits after serious losses in the

district court and on appeal. And even if Fieldale did want to incur the cost of

additional summary judgment briefing and trial, it is highly unlikely that any

significant additional discovery would be necessary.

      Lastly, Winn-Dixie has made no argument as to why it believes it will prevail

on appeal. The decision to enforce the settlement against Winn-Dixie was within this

Court’s discretion. And as the Court explained in that decision, Winn-Dixie gave little

to no explanation for why it failed to object timely to its inclusion in the class

settlement. Without a solid explanation for that failure, Winn-Dixie has little basis

for appeal. Having articulated no argument that its appeal will be meritorious, the

Court finds that permitting a separate appeal on this issue would be a waste of

judicial resources. That is a just reason to delay the appeal to the end of the case,

since Winn-Dixie has not identified any plausible countervailing reason.

                                                       ENTERED:


                                                       ______________________________
                                                       Honorable Thomas M. Durkin
                                                       United States District Judge
Dated: March 3, 2020



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